

Matter of Miller (2018 NY Slip Op 03062)





Matter of Miller


2018 NY Slip Op 03062


Decided on April 27, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 27, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., LINDLEY, CURRAN, AND WINSLOW, JJ. (Filed Apr. 11, 2018.)


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[*1]MATTER OF MATTHEW J. MILLER, AN ATTORNEY, RESIGNOR.



MEMORANDUM AND ORDER
Order entered accepting resignation and striking name from the roll of attorneys, pursuant to 22 NYCRR 1240.10.








